           Case 3:17-cv-04534-JSC Document 8 Filed 10/02/17 Page 1 of 1




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 2   THE STROJNIK FIRM LLC
 3   A LIMITED LIABILITY COMPANY
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 7   Attorneys for Plaintiff THERESA BROOKE
 8
 9                             UNITED STATES DISTRICT COURT
10
                          NORTHERN DISTRICT OF CALIFORNIA
11
12   THERESA BROOKE, a married woman
13   dealing with her sole and separate claim,       Case No: 3:17-cv-04534-JSC

14                        Plaintiff,
                                                     NOTICE OF SETTLEMENT
15
16   vs.
17   PRZM, LLC,
18
                           Defendant.
19
              Please take notice that the above case has settled. The parties anticipate
20
     memorializing the settlement and filing a dismissal with prejudice within 45 days from
21
     the date below written.
22
23
                    RESPECTFULLY SUBMITTED this 1st day of October, 2017.
24
25
                                                 /s/ Peter Kristofer Strojnik
26                                               Peter Kristofer Strojnik (242728)
27                                               Attorneys for Plaintiff

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